                                                    EXHIBIT B

                                                                 Middle
      VCN           Firm Name           Last Name   First Name                   Case Caption              Docket Number
                                                                 Initial
                                                                            Acostas, Jose v. Merck &
1    1075040   Cellino & Barnes, P.C.    Arnold      Leonard                                            2:06-cv-02203-EEF-DEK
                                                                                    Co., Inc.
                                                                            Adkins, Isabelle v. Merck
2    1075477   Cellino & Barnes, P.C.   Dickerman     Brenda                                            2:06-cv-02199-EEF-DEK
                                                                                   & Co., Inc.
                                                                             Ackerman, Kathleen v.
3    1075522   Cellino & Barnes, P.C.    Dreher      Doreen                                             2:06-cv-02198-EEF-DEK
                                                                               Merck & Co., Inc.
                                                                           Davis, Catherine v. Merck
4    1075844   Cellino & Barnes, P.C.     Hollis    Gwendolyn                                           2:06-cv-01209-EEF-DEK
                                                                                   & Co., Inc.
                                                                              Blackmon, Syrrita v.
5    1075771   Cellino & Barnes, P.C.     Harris     Darlene                                            2:06-cv-01210-EEF-DEK
                                                                               Merck & Co., Inc.
                                                                           Ahouse, Irene v. Merck &
6    1076181   Cellino & Barnes, P.C.    Lowry         Pearl                                            2:06-cv-02216-EEF-DEK
                                                                                    Co., Inc.
                                                                           Alwine, Sandra v. Merck &
7    1076389   Cellino & Barnes, P.C.    Moore       Elizabeth                                          2:06-cv-02201-EEF-DEK
                                                                                    Co., Inc.
                                                                             Anderson, Geraldine v.
8    1076444   Cellino & Barnes, P.C.    Nelson       James                                             2:07-cv-03631-EEF-DEK
                                                                               Merck & Co., Inc.
                                                                           Davis, Catherine v. Merck
9    1076679   Cellino & Barnes, P.C.    Rhodes       Dawn                                              2:06-cv-01209-EEF-DEK
                                                                                   & Co., Inc.
                                                                           Ahouse, Irene v. Merck &
10   1076923   Cellino & Barnes, P.C.     Smith       Mary         E                                    2:06-cv-02216-EEF-DEK
                                                                                    Co., Inc.
                                                                                Abdalle Lassan,
11   1077013   Cellino & Barnes, P.C.    Swartz      Charles                 Mohamoud v. Merck &        2:06-cv-02202-EEF-DEK
                                                                                    Co., Inc.
                                                                           Albanese, Marie v. Merck
12   1077021   Cellino & Barnes, P.C.    Szewc       Dorothy                                            2:06-cv-02207-EEF-DEK
                                                                                   & Co., Inc.
                                                                           Bamford, Armeda v. Merck
13   1077134   Cellino & Barnes, P.C.     Vega        Lucia                                             2:06-cv-01168-EEF-DEK
                                                                                   & Co., Inc.
